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 9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
12   DECKERS OUTDOOR                        )   CASE NO.:
     CORPORATION, a Delaware                )
13   Corporation,                           )   COMPLAINT FOR DAMAGES AND
                                            )   EQUITABLE RELIEF:
14                     Plaintiff,           )
                                            )   1. TRADE DRESS INFRINGEMENT
15                                          )      UNDER THE LANHAM ACT
                 v.                         )
16                                          )   2. TRADE DRESS INFRINGEMENT
                                            )      UNDER CALIFORNIA COMMON
17   FIVE BELOW, INC., a Pennsylvania       )      LAW
     Corporation; and DOES 1-10, inclusive, )
18                                          )   3. UNFAIR COMPETITION IN
                                            )      VIOLATION OF CAL. BUS. &
19                     Defendants.          )      PROF. CODE § 17200 et seq.
                                            )
20                                          )   4. UNFAIR COMPETITION UNDER
                                            )      CALIFORNIA COMMON LAW
21                                          )
                                            )   5. PATENT INFRINGEMENT OF
22                                          )      U.S. PAT. NO. D866,941
                                            )
23                                          )
                                            )   JURY TRIAL DEMANDED
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25
           Plaintiff Deckers Outdoor Corporation (“Deckers” or “Plaintiff”) for its
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     Complaint against Five Below, Inc. (“Five Below”) and DOES 1-10 (collectively
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     “Defendants”) alleges as follows:
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 1                               JURISDICTION AND VENUE
 2          1.     This action arises out of Defendants’ complicit and unlawful acts
 3   constituting trade dress infringement and unfair competition in violation of the
 4   Lanham Trademark Act of 1946, 15 U.S.C. § 1051, et seq. (the “Lanham Act”), patent
 5   infringement arising under the patent laws of the United States, 35 U.S.C. § 1, et seq.
 6   and violations of statutory and common law of the state of California.
 7          2.     This Court has subject matter jurisdiction over the federal claims asserted
 8   in this action under 28 U.S.C. §§ 1331 and 1338(a) and supplemental jurisdiction over
 9   Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367(a) because they are so related
10   to the federal claims that they form part of the same case or controversy.
11          3.     This Court has personal jurisdiction over Defendants because Defendants
12   conduct continuous and systematic business in this district, placed infringing products
13   in the stream of commerce directed to residents of this district, derived commercial
14   benefits from the sale of infringing products and caused injuries to Plaintiff within the
15   Central District of California.
16          4.     Venue is proper under 28 U.S.C. §§ 1391(b)-(c) because a substantial
17   part of the events or omissions giving rise to the claims alleged occurred in this
18   judicial district and Plaintiff is located and has been injured in this judicial district,
19   and 28 U.S.C. § 1400(b) because Defendants committed acts of infringement in this
20   judicial district.
21                                       THE PARTIES
22          5.     Plaintiff Deckers Outdoor Corporation is a corporation organized and
23   existing under the laws of the state of Delaware with an office and principal place of
24   business located in Goleta, California. Deckers designs and markets footwear products
25   under a number of well-known brands, including UGG® products covered by the
26   intellectual property asserted in this Complaint.
27          6.     Upon information and belief, Defendant Five Below, Inc. (“Five Below”)
28   is a corporation organized and existing under the laws of the Commonwealth of

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                          COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 1   Pennsylvania with an office and principal place of business located at 701 Market
 2   Street Suite 300, Philadelphia, Pennsylvania 19106.
 3         7.     Deckers is informed and believes that, together with Five Below, other
 4   individuals and entities currently named as DOES 1-10 may also be responsible in one
 5   manner or another for the wrongs alleged herein, in that at all relevant times, each one
 6   (including Five Below) was the agent and servant of the others and acting within the
 7   course and scope of said agency and employment. These other individuals and entities
 8   are sued under fictitious names DOES 1-10, because their true names and capacities
 9   are currently unknown to Deckers. Deckers will seek leave to amend this Complaint
10   when the true names and capacities of DOES 1-10 are ascertained.
11               ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
12   A.    Deckers’ UGG® Brand
13         8.     Deckers has been engaged in the design, distribution, marketing, offering
14   for sale, and sale of footwear since 1975. Deckers owns and markets its footwear
15   products    under   several   distinctive   trademarked   brands,   including   UGG®,
16   Koolaburra®, Teva®, Sanuk®, and Hoka One One®.
17         9.     Deckers’ UGG® brand is one of the most well-recognized premium
18   comfort-leisure shoe brands in the United States. Since 1979, when the UGG® brand
19   was founded, the popularity of UGG® footwear has steadily grown in the U.S. and
20   around the world. UGG® footwear has been and remains highly coveted today by
21   consumers as one of the most popular and recognizable symbols of luxury and style.
22         10.    For example, in 2000, UGG® boots were featured on Oprah’s Favorite
23   Things® where Oprah emphatically declared on national television how much she
24   “LOOOOOVES her UGG boots.” Since then, the popularity of UGG® footwear has
25   grown exponentially, with celebrities such as Kate Hudson, Sarah Jessica Parker, and
26   Tom Brady among a myriad of others regularly seen wearing UGG® footwear,
27   including UGG® Fluff Yeah Slides.
28         11.    The world-wide recognition as a “premium” brand and the overwhelming

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 1   popularity of the UGG® brand is due to Deckers’ continuous commitment to quality
 2   and excellence. Today, Deckers’ footwear products under the UGG® brand are
 3   widely available and sold to consumers in every state, including California, through
 4   UGG® Concept Stores, authorized brick-and-mortar retailers, as well as on the
 5   internet at www.ugg.com.
 6   B.     Defendants’ Infringing Activities
 7          12.    This lawsuit arises from Defendants’ design, manufacture, importation,
 8   distribution, advertisement, marketing, offering for sale, and sale in the U.S. of certain
 9   footwear products that infringe upon Deckers’ “Fluff Yeah Trade Dress” and U.S. Pat.
10   No. D866,941 (the “Accused Products”).
11          13.    Upon information and belief, Defendant Five Below is engaged in the
12   retail sale of a broad range of merchandise including apparel and footwear products
13   such as the Accused Products, which are sold through its 982 “brick and mortar” retail
14   stores located in 38 states, including within this judicial district, as well as through its
15   website (www.fivebelow.com) that is accessible to customers nationwide, including to
16   those within this judicial district.
17          14.    Upon information and belief, Five Below is a competitor of Deckers, and
18   Defendants introduced the Accused Products into the stream of commerce in an effort
19   to exploit Deckers’ goodwill and the reputation of the UGG® Fluff Yeah Slide.
20          15.    Deckers has not granted Defendants a license to practice nor given
21   Defendants any form of permission to use Deckers’ trademarks, trade dresses, or
22   patents, including Deckers’ Fluff Yeah Trade Dress and U.S. Pat. No. D866,941.
23          16.    Upon information and belief, Defendants imported into the U.S.,
24   advertised, marketed, offered for sale, and/or sold Accused Products identified by
25   name as Five Below “Open Toe Faux Fur Slingback Slippers”—an example of which
26   is shown in the photograph below—at least through Five Below’s website
27   www.fivebelow.com) to consumers nationwide, including consumers located within
28   this judicial district.

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                               COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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16                               Example of Accused Products
17         17.    Upon information and belief, Defendants may have sold additional
18   products that infringe upon Deckers’ design patents and trade dresses. Deckers will
19   seek leave to amend as additional information becomes available through discovery.
20         18.    Upon information and belief, Defendants have acted in bad faith and
21   Defendants’ unlawful acts have misled and confused, and were intended to cause
22   confusion, or to cause mistake, or to deceive consumers as to the affiliation,
23   connection, or association of the Accused Products with Deckers, and/or the origin,
24   sponsorship, or approval of the Accused Products by Deckers.
25                               FIRST CLAIM FOR RELIEF
26                    (Trade Dress Infringement – 15 U.S.C. § 1125(a))
27         19.    Deckers incorporates by reference each and every one of the preceding
28   paragraphs as though fully set forth herein.

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                          COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 1         20.      In 2018, Deckers introduced the UGG® Fluff Yeah Slide, marketed and
 2   featuring the design elements protected under the “Fluff Yeah Trade Dress.” The
 3   Fluff Yeah Trade Dress is unique and inherently distinctive, and comprised of the
 4   following non-functional elements:
 5                  a.    A slipper and sandal combined into a statement shoe made famous
 6         by the UGG® brand;
 7                  b.    A platform, sling back slide;
 8                  c.    A platform sole with a furry footbed and furry perimeter sides;
 9                  d.    A wide vamp having a furry exterior;
10                  e.    An open toe; and
11                  f.    An elastic heel strap extending from one side of the vamp to the
12         other.
13         21.      The Fluff Yeah Trade Dress, which is a composite of the above-
14   referenced features, is non-functional in its entirety, visually distinctive, and unique in
15   the footwear industry; examples of its distinctive appearance as a whole are shown in
16   the photographs below:
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           22.      The design of the Fluff Yeah Trade Dress is neither essential to its use or
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     purpose, nor does it affect the cost or quality of the shoe. There are numerous other
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     designs available that are equally feasible and efficient, none of which necessitate
27
     copying or imitating the Fluff Yeah Trade Dress. The combination of features
28
     comprising the Fluff Yeah Trade Dress provides no cost advantages to the
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                           COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 1   manufacturer or utilitarian advantages to the consumer. These features, in
 2   combination, serve only to render UGG® Fluff Yeah Slides, the embodiment of the
 3   Fluff Yeah Trade Dress, as a distinct product originating solely from Deckers.
 4         23.    UGG® Fluff Yeah Slides, the embodiment of the Fluff Yeah Trade
 5   Dress, is one of the most well-recognized and commercially successful styles of
 6   UGG® brand of footwear products, having been featured in many of Deckers’
 7   advertising and promotional materials as well as in various trade publications. UGG®
 8   Fluff Yeah Slides have received a large volume of unsolicited media attention, for
 9   example, through various celebrities seen wearing UGG® Fluff Yeah Slides and
10   graced the pages of many popular magazines nationwide and internationally.
11         24.    Deckers has spent substantial time, effort, and money in designing,
12   developing, advertising, promoting, and marketing the UGG® brand and its line of
13   footwear embodying the Fluff Yeah Trade Dress. Deckers spends millions of dollars
14   annually on advertising of UGG® products, including footwear embodying the Fluff
15   Yeah Trade Dress.
16         25.    Due to its long use, extensive sales, and significant advertising and
17   promotional activities, Deckers’ Fluff Yeah Trade Dress has achieved widespread
18   acceptance and recognition among the consuming public and trade throughout the
19   United States. Indeed, Deckers has sold millions of dollars’ worth of UGG® Fluff
20   Yeah Slides, the embodiment of the Fluff Yeah Trade Dress. Accordingly, the Fluff
21   Yeah Trade Dress has achieved a high degree of consumer recognition and secondary
22   meaning, which serves to identify Deckers as the exclusive source of footwear
23   featuring said trade dress.
24         26.    Upon information and belief, Defendants are competitors of Deckers and
25   Defendants introduced Accused Products into the stream of commerce in an effort to
26   exploit Deckers’ goodwill and the reputation of the UGG® Fluff Yeah Slide.
27         27.    The Accused Products manufactured, imported, distributed, advertised,
28   offered for sale, and/or sold by Defendants bear confusingly similar reproductions of

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 1   the Fluff Yeah Trade Dress, such as to cause a likelihood of confusion as to the
 2   source, sponsorship or approval by Deckers of the Accused Products.
 3         28.    Defendants’ use of the Fluff Yeah Trade Dress is without Deckers’
 4   permission or authorization, and in total disregard of Deckers’ rights to control its
 5   intellectual property. There are numerous other shoe designs in the footwear industry,
 6   none of which necessitate copying or imitating the Fluff Yeah Trade Dress.
 7         29.    Defendants’ use of the Fluff Yeah Trade Dress is likely to lead to and
 8   result in confusion, mistake or deception, and is likely to cause the public to believe
 9   that Accused Products are produced, sponsored, authorized, or licensed by or are
10   otherwise connected or affiliated with Deckers.
11         30.    As a direct and proximate result of the foregoing acts, Deckers has
12   suffered and will continue to suffer significant injuries in an amount to be determined
13   at trial. Deckers is entitled to recover all damages, including attorneys’ fees, that it
14   has sustained and will sustain, and all gains, profits and advantages obtained by
15   Defendants as a result of its infringing acts.
16         31.    Furthermore, unless Defendants’ unlawful acts are enjoined by this
17   Court, there is no adequate remedy at law that can fully compensate Deckers for the
18   harm caused by Defendants’ infringement, which is ongoing. Accordingly, Deckers is
19   entitled to injunctive relief prohibiting Defendants from continuing to infringe the
20   Fluff Yeah Trade Dress, or any designs confusingly similar thereto.
21                              SECOND CLAIM FOR RELIEF
22                  (Trade Dress Infringement – California Common Law)
23         32.    Deckers incorporates by reference each and every one of the preceding
24   paragraphs as though fully set forth herein.
25         33.    Defendants’ infringement of the Fluff Yeah Trade Dress also constitutes
26   trade dress infringement under common law of the state of California.
27         34.    The Accused Products manufactured, imported, distributed, advertised,
28   offered for sale, and/or sold by Defendants bear confusingly similar reproductions of

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                          COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 1   the Fluff Yeah Trade Dress, such as to cause a likelihood of confusion as to the
 2   source, sponsorship or approval by Deckers of the Accused Products. Defendants’
 3   unauthorized use of the Fluff Yeah Trade Dress has caused and is likely to cause
 4   confusion as to the source of Accused Products among consumers.
 5         35.    As a direct and proximate result of the foregoing acts, Deckers has
 6   suffered and will continue to suffer significant injuries in an amount to be determined
 7   at trial. Deckers is entitled to recover all damages, including attorneys’ fees, that it
 8   has sustained on account of Defendants’ infringement, and all gains, profits and
 9   advantages obtained by Defendants as a result of its unlawful acts.
10         36.    Defendants’ unlawful acts were willful, deliberate, and intended to cause
11   confusion among the public, taken in reckless disregard of Deckers’ rights. As such,
12   an award of exemplary and punitive damages is necessary in an amount sufficient to
13   deter similar misconduct in the future.
14         37.    Furthermore, unless Defendants’ unlawful acts are enjoined by this
15   Court, there is no adequate remedy at law that can fully compensate Deckers for the
16   damages caused by Defendants’ infringement, which is ongoing. Accordingly,
17   Deckers is entitled to injunctive relief prohibiting Defendants from continuing to
18   infringe the Fluff Yeah Trade Dress, or any designs confusingly similar thereto.
19                              THIRD CLAIM FOR RELIEF
20      (Unfair Competition in Violation of Cal. Bus. & Prof. Code, § 17200 et. seq.)
21         38.    Deckers incorporates by reference each and every one of the preceding
22   paragraphs as though fully set forth herein.
23         39.    Defendants’ misappropriation and unauthorized use of the Fluff Yeah
24   Trade Dress to promote the Accused Products is likely to confuse or mislead
25   consumers into believing that such products are authorized, licensed, affiliated,
26   sponsored, and/or approved by Deckers, constituting deceptive, unfair, and fraudulent
27   business practices and unfair competition in violation of the California Unfair
28   Business Practices Act, Cal. Bus. & Prof. Code, § 17200 et. seq.

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                          COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 1         40.    Upon information and belief, Defendants’ deceptive, unfair, and
 2   fraudulent business practices were willfully undertaken with full knowledge of the
 3   Fluff Yeah Trade Dress and with the intent to misappropriate Deckers’ goodwill and
 4   reputation established in the UGG® Fluff Yeah Slide.
 5         41.    As a direct and proximate result of the foregoing acts, Deckers has
 6   suffered and will continue to suffer significant injuries in an amount to be determined
 7   at trial. Deckers is entitled to all available relief provided for under the California
 8   Unfair Business Practices Act, Cal. Bus. & Prof. Code, § 17200 et. seq., including an
 9   accounting and disgorgement of all illicit profits that Defendants made on account of
10   its deceptive, unfair, and fraudulent business practices. Furthermore, because Deckers
11   has no adequate remedy at law for Defendants’ ongoing unlawful conduct, Deckers is
12   entitled to injunctive relief prohibiting Defendants from unfair competition.
13                             FOURTH CLAIM FOR RELIEF
14                     (Unfair Competition – California Common Law)
15         42.    Deckers incorporates by reference each and every one of the preceding
16   paragraphs as though fully set forth herein.
17         43.    Defendants’ misappropriation and unauthorized use of the Fluff Yeah
18   Trade Dress to promote the Accused Products also constitutes unfair competition in
19   violation of common law of the state of California.
20         44.    Deckers has expended substantial time, resources and effort in creating
21   and developing UGG® footwear, including the UGG® Fluff Yeah Slide, the
22   embodiment of the Fluff Yeah Trade Dress, which consumers recognize as originating
23   from Deckers.
24         45.    Upon information and belief, Defendants introduced Accused Products
25   into the stream of commerce in order to exploit Deckers’ goodwill and the reputation
26   established in the UGG® Fluff Yeah Slide for Defendants’ own pecuniary gain.
27   Defendants’ unauthorized use of the Fluff Yeah Trade Dress resulted in Defendants
28   unfairly benefitting from Deckers’ goodwill and the reputation established in the

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                          COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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 1   UGG® Fluff Yeah Slide.
 2         46.    Upon information and belief, Defendants’ unlawful acts are willful,
 3   deliberate, and intended to cause confusion among the public and taken in reckless
 4   disregard of Deckers’ rights. As such, an award of exemplary and punitive damages is
 5   necessary in an amount sufficient to deter similar misconduct in the future.
 6         47.    As a direct and proximate result of the foregoing acts, Deckers has
 7   suffered and will continue to suffer significant injuries in an amount to be determined
 8   at trial. Deckers is entitled to recover all damages, including attorneys’ fees, that
 9   Deckers has sustained on account of Defendants’ unfair competition, and all gains,
10   profits and advantages obtained by Defendants as a result of its unlawful acts.
11   Furthermore, because Deckers has no adequate remedy at law for Defendants’
12   ongoing unlawful conduct, Deckers is entitled to injunctive relief prohibiting
13   Defendants from unfair competition.
14                               FIFTH CLAIM FOR RELIEF
15                      (Patent Infringement – U.S. Pat. No. D866,941)
16         48.    Deckers incorporates by reference each and every one of the preceding
17   paragraphs as though fully set forth herein.
18         49.    In order to protect its valuable brands, Deckers owns a number of patents
19   covering various styles of footwear it markets, including the UGG® Fluff Yeah Slide
20   described herein. These patents include U.S. Pat. No. D866,941 (“the ’941 Patent”)
21   issued on November 19, 2019, a true and correct copy of which is attached hereto as
22   Exhibit A and incorporated herein.
23         50.    Deckers is the owner by assignment of all rights, title and interest in and
24   to the ’941 Patent and Deckers has marked substantially all footwear products
25   embodying the design of the ’941 Patent with “patent pending” on a product label in
26   compliance with 35 U.S.C. § 287, putting Defendants on notice of the pending patent
27   application that issued as the ’941 Patent.
28         51.    Defendants have produced, imported into the U.S., distributed,

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 1   advertised, marketed, offered for sale, and/or sold within the United States the
 2   Accused Products which bear a design substantially similar to the ornamental design
 3   of the ’941 Patent, in violation of 35 U.S.C. § 271.
 4          52.    Deckers has not granted a license or given Defendants any form of
 5   permission to the ’941 Patent and Defendants’ infringement of the ’941 Patent is
 6   without Deckers’ permission or authority and in total disregard of Deckers’
 7   intellectual property rights.
 8          53.    As a direct and proximate result of the foregoing acts, Deckers has
 9   suffered and will continue to suffer significant injuries in an amount to be determined
10   at trial.    Deckers is entitled to recover all damages sustained on account of
11   Defendants’ infringement, and all gains, profits and advantages obtained by
12   Defendants under 35 U.S.C. §§ 284 and 289.
13          54.    Upon information and belief, Defendants’ infringing acts were willful,
14   deliberate, and taken in reckless disregard of the ’941 Patent despite having been put
15   on notice through Deckers’ pending patent marking. Defendants took these actions
16   knowing the objectively high likelihood that such actions constituted infringement of
17   the ’941 Patent. As Defendants’ willful acts render this an exceptional case, Deckers
18   is entitled to enhanced damages and reasonable attorney fees under 35 U.S.C. § 284.
19          55.    Furthermore, unless Defendants’ unlawful acts are enjoined by this
20   Court, there is no adequate remedy at law that can fully compensate Deckers for the
21   harm caused by Defendants’ infringement of the ’941 Patent, which is ongoing.
22   Accordingly, Deckers is entitled to injunctive relief under 35 U.S.C. § 283 prohibiting
23   Defendants from continuing to infringe the ’941 Patent.
24                                   PRAYER FOR RELIEF
25          WHEREFORE, Plaintiff Deckers Outdoor Corporation respectfully prays for
26   judgment against Defendants Five Below, Inc. and DOES 1-10 as follows:
27          1.     A judgment that Defendants infringed Deckers’ Fluff Yeah Trade Dress
28   and U.S. Pat. No. D866,941;

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 1         2.     An order permanently enjoining and restraining Defendants, their agents,
 2   servants, employees, officers, associates, and all persons acting in concert with any of
 3   them from infringing Deckers’ intellectual property at issue, including but not limited
 4   to infringing acts such as:
 5                a.     manufacturing, importing, advertising, marketing, promoting,
 6         supplying, distributing, offering for sale, or selling Accused Products or any
 7         other products that bear an identical or confusingly similar design as Deckers’
 8         Fluff Yeah Trade Dress;
 9                b.     manufacturing, importing, advertising, marketing, promoting,
10         supplying, distributing, offering for sale, or selling Accused Products or any
11         other products that infringe the ’941 Patent;
12                c.     engaging in any other activity constituting unfair competition with
13         Deckers, or acts and practices that deceive consumers, the public, and/or trade,
14         including without limitation, the use of designations and design elements used
15         or owned by or associated with Deckers; and
16                d.     committing any other act which falsely represents or which has
17         the effect of falsely representing goods and services of Defendants are
18         licensed, authorized, offered, produced, sponsored, or in any other way
19         associated with Deckers;
20         3.     An order requiring Defendants to recall from any distributors and
21   retailers and to deliver to Deckers for destruction any Accused Products, including the
22   means of making such products;
23         4.     An order requiring Defendants to file with this Court and serve on
24   Deckers within thirty (30) days after entry of the injunction, a report in writing and
25   under oath setting forth the manner in which Defendants complied with the injunction;
26         5.     An order for an accounting of all gains, profits and advantages derived by
27   Defendants on account of the unlawful acts complained of herein pursuant to 15
28   U.S.C. § 1117(a), Cal. Bus. & Prof. Code, § 17200 et. seq., and any other applicable

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 1   federal statute or California state and common law;
 2         6.     An award of damages equal to Defendants’ profits and all damages
 3   sustained by Deckers as a result of Defendants’ wrongful acts;
 4         7.     An award of damages equal to treble Defendants’ profits or Deckers’
 5   damages, whichever is greater, on account of Defendants’ willful infringement;
 6         8.     An award of punitive damages and Deckers’ costs, attorneys’ fees, and
 7   interest as allowed under all applicable federal statutes and California state laws; and
 8         9.     All other relief that the Court may deem just and proper.
 9
10   Dated:          December 15, 2020     BLAKELY LAW GROUP
11
12                                         By:   _/s/ Mark S. Zhai_________
                                                 Brent H. Blakely
13                                               Mark S. Zhai
                                                 Colby A. Meagle
14                                               Attorneys for Plaintiff
                                                 Deckers Outdoor Corporation
15
16
                                 DEMAND FOR JURY TRIAL
17
           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
18
     Deckers Outdoor Corporation hereby demands a trial by jury as to all claims in this
19
     Civil Action.
20
21
     Dated:          December 15, 2020     BLAKELY LAW GROUP
22
23
                                           By:   _/s/ Mark S. Zhai_________
24                                               Brent H. Blakely
                                                 Mark S. Zhai
25                                               Colby A. Meagle
                                                 Attorneys for Plaintiff
26                                               Deckers Outdoor Corporation
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